       Case 2:23-cv-00050-BMM Document 58 Filed 11/29/23 Page 1 of 2



               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION


THE IMPERIAL SOVEREIGN COURT OF
THE STATE OF MONTANA; ADRIA
JAWORT; RACHEL CORCORAN;                             No. CV 23-50-BU-BMM
MONTANA BOOK COMPANY; IMAGINE
BREWING COMPANY, LLC d/b/a IMAGINE
NATION BREWING
COMPANY; BUMBLEBEE AERIAL                            SCHEDULING ORDER
FITNESS; THE WESTERN MONTANA
COMMUNITY CENTER; MONTANA
PRIDE; THE GREAT FALLS LGBTQ+
COMMUNITY CENTER; THE ROXY
THEATER; and THE MYRNA LOY,

                          Plaintiffs,

       vs.

AUSTIN KNUDSEN; ELSIE ARNTZEN; and
J.P. GALLAGHER,

                          Defendants.


      The Court held a telephonic preliminary pretrial conference on this matter on

November 29, 2023, at the Missouri River Federal Courthouse in Great Falls.

Rylee Sommers-Flanagan and Niki Zupanic represented Plaintiffs. Thane Johnson

represented Defendants Austin Knudsen and Elsie Arntzen. Cynthia L. Walker

represented Defendant J.P. Gallagher.
        Case 2:23-cv-00050-BMM Document 58 Filed 11/29/23 Page 2 of 2



      Defendants Knudsen and Arntzen filed a notice of appeal to the United

States Court of Appeals for the Ninth Circuit of the Court’s preliminary injunction

order on November 13, 2023. (Doc. 38.) In light of the appeal, and with the

agreement of the parties, the Court will stay proceedings in this matter.

                                         ORDER


      Accordingly, IT IS ORDERED:

      1. All proceedings in this case are hereby STAYED until the appeal to the

         Ninth Circuit is resolved.

      2. Parties shall inform the Court within ten days of the resolution of the

         appeal.

      DATED this 29th of November, 2023.
